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                                                Attorneys for Plaintiffs
                                            9   Cape Fox Corporation
                                           10   APM, LLC and 1CI

                                           11                            IN THE UNITED STATES DISTRICT COURT

                                           12                                   FOR THE DISTRICT OF ALASKA
                                           13
                                                CAPE FOX CORPORATION an Alaska
                                           14   Corporation; APM, LLC an Alaska Limited
                                                Liability Company; and                                      Case No. 3:10-cv-80 [RRB]
                                           15   1CI a Delaware Corporation;

                                           16                                    Plaintiffs,
                                           17
                                                        v.
                                                                                                            STIPULATION FOR
OLES MORRISON RINKER & BAKER LLP




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 Tel: (907) 258-0106 Fax: (907) 258-5519




                                                CRAIG JACKSON;                                              DISMISSAL WITH PREJUDICE
      745 West Fourth Avenue, Suite 502




                                           19   TOWNSEND JACKSON;
       Anchorage, Alaska 99501-2136




                                                ADVANCED BUSINESS MANAGEMENT
                                           20   SERVICES, INC., a Nevada Corporation;
                                                SANDERS ENGINEERING, CO., INC., a
                                           21
                                                California Corporation; and
                                           22   BUTLER MARKETING & CONSULTING
                                                GROUP, INC., a Virginia Corporation;
                                           23
                                                                              Defendants.
                                           24
                                           25

                                                Stipulation for Dismissal With Prejudice
                                                Cape Fox Corp. et al., v. Craig Jackson et. al., Case No. 3:10-cv-80 [RRB]          Page 1 of 4
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                                                  Case 3:10-cv-00080-RRB Document 49 Filed 01/06/11 Page 1 of 4
                               Pursuant to Rule 41 (a)(1 )(A)(ii) of the Federal Rules of Civil Procedure, Cape
                   1
                       Fox Corporation; APM, LLC; 1CI; Craig Jackson; Advanced Business Management
                   2

                   3   Services, Inc.; Sanders Engineering, Co., Inc.; and Butler Marketing & Consulting

                   4   Group, Inc., by and through their respective counsel, hereby stipulate and agree that
                   5   this action shall be dismissed with prejudice, with each party bearing its costs and
                   6
                       attorney's fees.
                   7
                       Dated in Anchorage, Alaska, this 5s\,           day of January, 2011.
                   8
                                                                       OLES MORRISON RINKER & BAKER LLP
                   9                                                   Attorneys for Cape Fox Corporation
                  10                                                   APM, LLC and 1CI

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                       Cape Fox Corp. et al., v. Craig Jackson et. al., Case No. 3:10-cv-80 [RRB]          Page 2 of 4
                       12039.0005

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                          1
                              Dated in Anchorage, Alaska, this            ~ day of January, 2011.
                          2                                                    STOEL RIVES LLP
                                                                               Attorneys for Craig Jackson, Sanders
                          3                                                    Engineering, Co., Inc., and Advanced Business
                                                                               Management Services, Inc.
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                         14                                                    DORSEY & WHITNEY LLP
                                                                               Attorneys for Butler Marketing & Consulting
                         15                                                    Group, Inc.

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                         17
                                                                               BY:~~~
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                              12039.0005

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                                                               CERTIFICATE OF SERVICE
                                            1
                                                I hereby certify that on January 6, 2011, a copy of the
                                            2   foregoing was served electronically on

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                                                OLES MORRISON RINKER & BAKER LLP
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                                            9   By: s/Traeger Machetanz
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                                           12   4824-1753-3960, v. 1


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